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6    Attorneys for Defendant
     EDI CAMACHO
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8
                                             UNITED STATES DISTRICT COURT
9
                                            EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                            No. Cr. S 07-289 MCE
12                             Plaintiff,                 STIPULATED MOTION AND ORDER TO
13                                                        REDUCE SENTENCE PURSUANT TO 18
               v.                                         U.S.C. § 3582(c)(2)
14
     EDI CAMACHO,                                         RETROACTIVE DRUGS-MINUS-TWO
15                                                        REDUCTION CASE
                               Defendant.
16                                                        Judge: Honorable MORRISON C. ENGLAND, JR.

17             Defendant, EDI CAMACHO, by and through his attorney, Assistant Federal Defender
18   Hannah R. Labaree, and plaintiff, UNITED STATES OF AMERICA, by and through its counsel,

19   Assistant U.S. Attorney Jason Hitt, hereby stipulate as follows:

20             1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of

21   imprisonment in the case of a defendant who has been sentenced to a term of imprisonment

22   based on a sentencing range that has subsequently been lowered by the Sentencing Commission

23   pursuant to 28 U.S.C. § 994(o);

24             2.         On September 16, 2008, this Court sentenced Mr. Camacho to a term of 168

25   months imprisonment;

26             3.         His total offense level was 33, his criminal history category was III, and the

27   resulting guideline range was 168 to 210 months;

28

     Stipulation and Order Re: Sentence Reduction           1
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1              4.         The sentencing range applicable to Mr. Camacho was subsequently lowered by
2    the United States Sentencing Commission in Amendment 782, made retroactive on July 18,
3    2014, see 79 Fed. Reg. 44,973;
4              5.         Mr. Camacho’s total offense level has been reduced from 33 to 31, and his
5    amended guideline range is 135 to 168 months;
6              6.         Accordingly, the parties request the Court enter the order lodged herewith
7    reducing Mr. Camacho’s term of imprisonment to a total term of 135 months.
8    Respectfully submitted,
9    Dated: August 12, 2015                             Dated: August 12, 2015
10   BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
     United States Attorney                             Federal Defender
11
12    /s/ Jason Hitt______                              /s/ Hannah R. Labaree_ _
     JASON HITT                                         HANNAH R. LABAREE
13   Assistant U.S. Attorney                            Assistant Federal Defender
14   Attorney for Plaintiff                             Attorney for Defendant
     UNITED STATES OF AMERICA                           EDI CAMACHO
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     Stipulation and Order Re: Sentence Reduction          2
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1                                                   ORDER
2              This matter came before the Court on the stipulated motion of the defendant for reduction
3    of sentence pursuant to 18 U.S.C. § 3582(c)(2).
4              The parties agree, and the Court finds, that Mr. Camacho is entitled to the benefit
5    Amendment 782, which reduces the total offense level from 33 to 31, resulting in an amended
6    guideline range of 135 to 168 months.
7              IT IS HEREBY ORDERED that the term of imprisonment imposed in September 2008 is
8    reduced to a term of 135 months.
9              IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
10   remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
11   reduction in sentence, and shall serve certified copies of the amended judgment on the United
12   States Bureau of Prisons and the United States Probation Office.
13             Unless otherwise ordered, Mr. Camacho shall report to the United States Probation Office
14   within seventy-two hours after his release.
15             IT IS SO ORDERED.
16   Dated: August 12, 2015
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     Stipulation and Order Re: Sentence Reduction       3
